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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION




UNITED STATES OF AMERICA,

              Plaintiff,
                                                           File No. 1:05-CR-05
v.
                                                           HON. ROBERT HOLMES BELL
JULIE ANN GLASSBROOK,

              Defendant.
                                              /

                      MEMO RANDUM OPINION AND ORDER

       This matter is before the Court on Defendant Julie Ann Glassbrook’s motion for

severance from her co-defendant pursuant to F ED. C RIM . R.14(a).

       Defendant has been charged, along with her husband, Michael Wallace Glassbrook,

in an indictment with two counts of knowingly and intentionally manufacturing more than

5 grams of methamphetamine in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(viii).

Before the Court is Defendant’s motion to sever her trial from her co-defendant and proceed

with a separate trial. For the reasons stated below, the Court will deny Defendant’s motion.

                                                  I.

       F ED. R. C RIM . P. 8(b) provides for the joinder of defendants in a single indictment “if

they are alleged to have participated in the same act or transaction, or in the same series of

acts or transactions, constituting an offense or offenses.” Indeed, there is a preference in the

federal system for joint trials of defendants who are indicted together, especially where an
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indictment alleges a conspiracy or joint participation in a common scheme. See e.g., Zafiro v.

United States, 506 U.S. 534, 537 (1993); United States v. Tocco, 200 F.3d 401, 413-14 n. 5

(6th Cir. 2000) (“We adhere to the ‘strong policy in favor of joint trials when charges will

be proved by the same series of acts.’”) (quoting United States v. Horton, 847 F.2d 313, 317

(6th Cir. 1988)).

       Although joint trials of co-defendants are preferred, the federal rules recognize that

in certain situations joinder of defendants may be prejudicial. Thus, F ED. R. C RIM . P. 14(a)

provides that the district court may sever defendants’ trials if joinder “appears to prejudice

a defendant or the government.” FED. R. C RIM . P. 14(a). “[T]he decision to deny a motion

for severance rests within the wide discretion of the trial court . . . .” United States v.

Breinig, 70 F.3d 850, 852 (6th Cir. 1995) (citing United States v. Moore, 917 F.2d 215, 219

(6th Cir. 1990)). Severance should be granted only if there is “a serious risk that a joint trial

would compromise a specific trial right of one of the defendants, or prevent the jury from

making a reliable judgment about guilt or innocence.” Zafiro, 506 U.S. at 539. Defendant

has a “heavy burden of showing specific and compelling prejudice” from joinder with her

co-defendant. United States v. Harris, 9 F.3d 493, 500 (6th Cir. 1993). “The fact that a

defendant may have a better chance at acquittal if his trial were severed does not require the

judge to grant his motion: the defendant must show ‘substantial,’ ‘undue,’ or ‘compelling

prejudice.’” United States v. Lopez, 309 F.3d 966, 971 (6th Cir. 2002) (quoting United

States v. DeFranco, 30 F.3d 664, 669-70 (6th Cir. 1994)).



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                                               II.

       Defendant acknowledges that it is not sufficient for her to allege that her co-defendant

claims he is innocent and that Defendant is responsible for the crimes charged. Such

mutually antagonistic defenses are not prejudicial per se. See Zafiro, 506 U.S. at 539.

Nevertheless, Defendant argues that she will be substantially prejudiced by a joint trial

because pretrial discovery has revealed a “General Affidavit of Michael W. Glassbrook,” in

which Mr. Glassbrook “makes exculpatory statements as to himself, but makes inculpatory

statements as to Defendant Julie Ann Glassbrook.” Brief in Support of Defendant’s Motion

for Severance at 2. Defendant contends that if this evidence is presented at trial she will be

severely prejudiced. Further, Defendant argues that, based upon the affidavit, the parties

have antagonistic defenses which will prejudice Defendant’s case.

       Defendant overstates the prejudice, if any, she will suffer from M r. Glassbrook’s

affidavit.   The fact that the affidavit reveals that the co-Defendants will likely have

antagonistic defenses is not sufficiently prejudicial. Zafiro, 506 U.S. at 539. Moreover,

Defendant has failed to allege a specific trial right that will be compromised by the joinder.

Id. First, the affidavit is clearly inadmissible hearsay as to either defendant because it is an

out of court statement offered to prove the truth of the matter asserted. F ED. R. E VID . 801(c).

Second, while the government could possibly introduce the affidavit against Mr. Glassbrook

as an admission of a party-opponent under F ED. R. E VID . 801(d)(2), they have alerted the

Court that they will not be offering the statement during their case-in-chief. Moreover, even



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if the Government were to introduce the statement for a legitimate purpose, the statements

relating to Defendant would have to be redacted pursuant to the Bruton v. United States, 391

U.S. 123 (1968), line of cases. See e.g., Richardson v. Marsh, 481 U.S. 200, 211 (1987);

Gray v. Maryland, 523 U.S. 185, 192-93 (1998); United States v. Cobleigh, 75 F.3d 242, 248

(6th Cir. 1996).

        Defendant has failed to satisfy her heavy burden of demonstrating sufficient prejudice

to warrant altering the preference for joint trials of co-defendants. Any risk of prejudice from

a joint trial can be sufficiently remedied by an instruction to the jury. See Zafiro, 506 U.S.

at 540-41; United States v. Welch, 97 F.3d 142, 147 (6th Cir. 1996) (“[J]uries are presumed

capable of sorting evidence and separately considering each count and each defendant.”)

(citing United States v. Medina, 992 F.2d 573, 587 (6th Cir. 1993)); Cobleigh, 75 F.3d at

248.    A joint trial in this matter will serve the interests of justice by avoiding inconsistent

verdicts and will facilitate the conduct of a speedy and efficient trial. See Richardson, 481

U.S. at 210; Welch, 97 F.3d at 147-48. Further, a joint trial will avert the need for multiple

presentations of the evidence in a case that appears to encompass the same transactions and

acts. Accordingly,

        IT IS HEREBY ORDERED THAT Defendant Julie Ann Glassbrook’s motion for

severance (Docket #44) is DENIED.




Date:        June 21, 2005                   /s/ Robert Holmes Bell
                                             ROBERT HOLM ES BELL
                                             CHIEF UNITED STATES DISTRICT JUDGE

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